Case 2:18-cv-00039-JPJ-PMS Document1 Filed 10/17/18 Pagelof6 Pageid#: 1

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGIA

_ BIG STONE GAP DIVISION
VIRGINIA FOREST PRODUCTS, LLC, )
)
Plaintiff, )
) Case No.:
v. )
)
UNI WOOD OF NORTH CAROLINA, INC., —)
)
Defendant. )

VERIFIED COMPLAINT
COMES NOW, the Plaintiff, Virginia Forest Products, LLC, by and through counsel,
Joshua S. Ferrell and Ferrell & Brown, PLLC, and for its Complaint against the Defendant and

states and avers as follows:

PARTIES
1. The Plaintiff is a Virginia Limited Liability Company with a principal place of

business located at 722 Industrial-Park Road, Duffield, Virginia 24244.
2, The Defendant is a North Carolina Corporation with a principal office address of
109 Utley Bluff Drive, Holly Springs, North Carolina 24750.
JURISDICTION
3. This Court maintains subject-matter jurisdiction over this matter pursuant to 28
US.C, § 1332. Jurisdiction is based on diversity of citizenship, and the amount in controversy

exceeds the minimum threshold of $75,000.

 
Case 2:18-cv-00039-JPJ-PMS Document1 Filed 10/17/18 Page 2of6 Pageid#: 2

BACKGROUND

4, In or around January 2018, the parties entered into an agreement whereby Plaintiff
would supply Defendant with certain types of lumber to be delivered in Lexington, North Carolina.

5. That agreement was entered into at Plaintiff's facility in Duffield, Virginia where
the subject lumber was housed,

6. During the course and scope of the agreement, the Plaintiff would submit invoices
for the lumber it provided to Defendant.

7, From in or around January 24, 2018, until February 19, 2018, the Plaintiff shipped
and invoiced Eighty Thousand Seven Hundred Sixty-Five Dollars and Eighty-Six Cents
($80,765.86) worth of lumber to Defendants.

8. The Defendant accepted the shipments from the Plaintiff without denial or return
of any shipment.

9, As of the date of this filing, the Defendant has failed to pay Plaintiff for the lumber
it provided under the agreement.

10. Because Defendant has failed to pay Plaintiff the monies owed unto it, Plaintiff has
been caused to expend unnecessary attorney fees and costs in collecting the monies owed to it for

the lumber it provided unto Defendants.

COUNT I - BREACH OF CONTRACT

11. Plaintiff incorporates all of the allegations and statements contained in the
preceding paragraphs as if stated fully herein.
12, Defendant unilaterally breached the contract it had with Plaintiff by refusing to pay

the amount due and owing under the invoices provided for lumber rendered by Plaintiff.

 
Case 2:18-cv-00039-JPJ-PMS Document1 Filed 10/17/18 Page 3of6 Pageid#: 3

13, Defendant has refused and continues to refuse to pay the amounts owed for the
services Plaintiff provided.

14. Defendant received the benefit of Plaintiff's performance under the agreement.

15. The actions of Defendant constitute a breach of the aforementioned contract entered
into by the parties.

16, That due to the acts and/or omissions of Defendant, the Plaintiff has suffered
financial difficulties and incurred unnecessary attorney fees and costs.

COUNT II - DECLARATORY JUDGMENT

17. Plaintiff incorporates all of the allegations and statements contained in the
preceding paragraphs as if stated fully herein.
18. | Based upon the foregoing, Plaintiff respectfully requests the following declaratory
judgment:
a. There was a valid and enforceable agreement entered into by the parties,
b. Defendant is required to pay Plaintiff in the amount of $80,765.86 for the lumber
Plaintiff provided Defendant.
c. Defendant is required to pay pre-judgment and post-judgment interest on all sums
not paid to Plaintiff as a result of the breach of the contract.
d, Defendant is required to pay any and all fees and/or costs incurred by Plaintiff as a

result of prosecuting this action.

 
Case 2:18-cv-00039-JPJ-PMS Documenti Filed 10/17/18 Page 4of6 Pageid#: 4

COUNT II; QUANTUM MERUIT

19, Plaintiff repeats and incorporates herein by reference the allegations contained in
the preceding Paragraphs of this Complaint as if set forth herein verbatim.

20. Plaintiffrendered valuable services to Defendants in the form of selling and causing
lumber to be delivered Defendant.

21. Notwithstanding the above, Defendants accepted the services rendered by the
Plaintiff and. all the while, Defendant knew, or had reason to know, that Plaintiff expected to
compensated for the services it provided,

22. Further, under such circumstances, Defendant was reasonably notified by the
Plaintiff, and Defendant agreed, that the Plaintiff provide services under the parties’ agreement,
and that Plaintiff would be compensated for services provided.

23. Relying on the above agreement, Plaintiff provided the requested services to
Defendant.

24. Defendant’s actions above breached an expectancy of payment by the Plaintiff for
the services rendered as part of the parties’ agreement.

25. As a direct and proximate result of Defendant’s unlawful conduct, Plaintiff has
suffered, and will continue to suffer, financial harm and incurred unnecessary fees and/or cost as
a result of prosecuting this action,

Wherefore, your Plaintiff moves this Honorable Court to:

a. Enter a judgment for Plaintiff in the amount of $80,765.86, plus pre-judgment and
post-judgment interest;
b. Award attorney fees and cost expended in this action to the extent permitted by law;

and

 
Case 2:18-cv-00039-JPJ-PMS Document1 Filed 10/17/18 Page5of6 Pageid#: 5

c. Such other and further relief the nature of this case may require or the Court deems

proper.

A JURY TRIAL IS DEMANDED.

Virginia Forest Products
By Ferrell & Brown, PLLC:

/s/ Joshua S. Ferrell
Joshua S. Ferrell (Va. Bar Id. No. 78477)
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Case 2:18-cv-00039-JPJ-PMS Document1 Filed 10/17/18 Page 6of6 Pageid#: 6

VERIFICATION OF COMPLAINT

STATE OF LV

COUNTY OF “(1X Nuno TO-WIT:

This day appeared before me over ft Hannah , affiant, who having first been

duly sworn, deposes and states that the facts and allegations contained in the foregoing
document(s) are true to the best of his/her knowledge, belief, and information.

, AFFIANT

 

Taken and subscribed, and sworn to before me in my aforesaid County and State on the

QL SE day of So pkvmnbs c 2018.

My commission expires: —h\Gaeh 4 aoa

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OFFICIAL SEAL
NOTARY PUBLIC
STATE OF WEST VIRGINIA

TRACGIE MEADOWS

6t HAPRY HILL ROAD
WILLIAMSON, WV 25661
Commmiasion Expires MARCH 19, 2003

 

 

 
